Case 0:19-cr-60056-RAR Document 145 Entered on FLSD Docket 01/16/2020 Page 1 of 1


                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 19-CR-60056-RAR

  UNITED STATES OF AMERICA,

  v.

  BRANDON MICHAEL FLEURY,

        Defendant.
  _______________________________/

                                ORDER FINDING COMPETENCY

         THIS CAUSE came before the Court on January 15, 2020 for a hearing pursuant to

  18 U.S.C. § 4241(a) to address the mental competency of the Defendant, Brandon Michael Fleury.

  See Order Granting Motion to Determine Present Mental Condition of Convicted Person Suffering

  from Mental Disease or Defect [ECF No. 121]. For the reasons stated in open court—including

  Dr. Manuel E. Gutierrez’s December 11, 2019 Forensic Evaluation—the Court finds that

  Defendant is competent to proceed with sentencing. See Battle v. United States, 419 F.3d 1292,

  1299 (11th Cir. 2005). Specifically, the Court finds that Defendant has a “sufficient present ability

  to consult with his lawyer with a reasonable degree of rational understanding” and he has a

  “rational and factual understanding of the proceedings against him.” Wright v. Sec’y for Dep’t of

  Corr., 278 F.3d 1245, 1256 (11th Cir. 2002) (internal quotations and citation omitted); see also

  Cooper v. Oklahoma, 517 U.S. 348, 354 (1996); Dusky v. United States, 362 U.S. 402, 402 (1960).


         DONE AND ORDERED in Fort Lauderdale, Florida, this 15th day of January, 2020.



                                                           _________________________________
                                                           RODOLFO A. RUIZ
                                                           UNITED STATES DISTRICT JUDGE
